Case: 1:04-cr-00372 Document #: 650 Filed: 08/11/08 Page 1 of 16 PageID #:3511
Case: 1:04-cr-00372 Document #: 650 Filed: 08/11/08 Page 2 of 16 PageID #:3512
Case: 1:04-cr-00372 Document #: 650 Filed: 08/11/08 Page 3 of 16 PageID #:3513
Case: 1:04-cr-00372 Document #: 650 Filed: 08/11/08 Page 4 of 16 PageID #:3514
Case: 1:04-cr-00372 Document #: 650 Filed: 08/11/08 Page 5 of 16 PageID #:3515
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Case: 1:04-cr-00372 Document #: 650 Filed: 08/11/08 Page 9 of 16 PageID #:3519
Case: 1:04-cr-00372 Document #: 650 Filed: 08/11/08 Page 10 of 16 PageID #:3520
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